       Case 15-73967-crm           Doc 27 Filed 05/24/16 Entered 05/24/16 12:39:48                      Desc Order
                                       Closing - Dismissal 13 Page 1 of 1

                                      UNITED STATES BANKRUPTCY COURT

                                               Northern District of Georgia


In Re: Debtor(s)
       Tracey Jeania Felder                                    Case No.: 15−73967−crm
       128 Montclair Pl                                        Chapter: 13
       Ellenwood, GA 30294                                     Judge: C. Ray Mullins

        xxx−xx−8568




                  ORDER APPROVING ACCOUNT, DISCHARGING CHAPTER 13 TRUSTEE
                                    AND CLOSING ESTATE



     It appearing that the case of the above−named Debtor(s) was dismissed by Order of this Court, and

      It further appearing that the Chapter 13 Trustee herein has made distribution of all funds paid into the hands of the
Trustee by the Debtor(s) and has rendered a full and complete account thereof, and that said Trustee has performed all
other duties as required in the administration of said estate; and that said estate has been fully administered,


IT IS HEREBY ORDERED that:
1. The account of the Chapter 13 Trustee is allowed and approved;
2. The Chapter 13 Trustee is discharged and relieved of the trust;
3. The estate is closed; and
4. The Clerk shall mail a copy of this order to the Debtor, the attorney for the Debtor(s), and the Trustee.




                                                               C. Ray Mullins
                                                               United States Bankruptcy Judge


Dated:May 24, 2016
Form 176
